UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MATTHEW CONNOLLY,                                                            )   Case No.: 1:22-cv-09811-JMF
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                                         Plaintiff,                          )
                                                                             )
                                                                             )   AMENDED COMPLAINT
          vs.                                                                )
                                                                             )   JURY TRIAL DEMANDED
                                                                             )
DEUTSCHE BANK AG,                                                            )
                                                                             )
                                         Defendant.                          )
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          Plaintiff Matthew Connolly, by and through his undersigned counsel, alleges against

defendant Deutsche Bank AG (“Deutsche Bank”) as follows:

                                                  Nature of the Action

          1.        In January 2022, the Second Circuit exonerated Matthew Connolly in the criminal

case brought against him related to LIBOR submissions. The Second Circuit found that none of

Mr. Connolly’s actions constituted a crime – in other words, Mr. Connolly was actually innocent

of any wrongdoing. This follows findings from District Court Judge Colleen McMahon that

Connolly, a former Deutsche Bank trader, “was barely a player at all” and “the least culpable

person I have heard about” out of all the individuals at Deutsche Bank involved in LIBOR

submissions, and that “[w]hat was going on was no secret, and was – from all the evidence I have

seen and heard – encouraged, if not orchestrated, by senior officials at the bank for the benefit of

the bank.” United States v. Connolly, 16-cr-370-CM, Dkt. No. 457 (Oct. 24, 2019, SDNY) (Tr.

38:24-39:2; 92:20-93:5).
       2.      How did Connolly end up in this position? This is no ordinary case. Connelly was

the victim of a deliberate effort by his former employer, Deutsche Bank, to steer a Department of

Justice (“DOJ”) investigation towards him and other lower-level employees and away from the

senior executive decision makers. Deutsche Bank did this to appear to cooperate with the DOJ

while driving the investigation to a favorable result for the bank and its high ranking officers.

       3.      Mathew Connolly brings this action for malicious prosecution based on Deutsche

Bank’s calculated conduct, misstatements, and omissions to the DOJ, and the perjured testimony

by a Deutsche Bank employee to the jury in the District Court at trial.

       4.      Connolly comes from a modest background. He began his career on Wall Street as

a file clerk at JP Morgan and worked his way up to head the Derivatives Trading desk at Deutsche

Bank in New York. He voluntarily left the bank in 2008 with an unblemished record. When the

government began investigating LIBOR submissions several years later, Deutsche Bank senior

executives, who had been overwhelmingly more involved in LIBOR submissions than Connolly

and who had created, directed, and/or approved of the method for how the bank determined its

LIBOR submissions, identified Connolly as the perfect fall guy and hand-delivered him to the

government for prosecution.

       5.      Deutsche Bank knew what it told, and what it did not tell, the government regarding

Connolly was false and misleading and that the DOJ would, and did, rely on that information in

its investigation, in obtaining a federal criminal indictment of Connolly based on serious

omissions, and in continuing its prosecution of Connolly through trial and appeal. Deutsche Bank

was an engaged partner for and arm of the government throughout, facilitating the investigation

and prosecution.




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       6.        At all times, Deutsche Bank knew that its C-Suite and senior executives had

directed Deutsche Bank’s LIBOR submission practices and policies. Mid-level traders, including

Connolly, trusted and justifiably relied on that direction and those practices, understanding them

to be vetted, legal and in compliance with the law (which Deutsche Bank believed, too).

       7.        But when the government began questioning LIBOR’s accuracy, Deutsche Bank

gave the DOJ an incomplete and false map to protect itself and its elite upper-echelon from

scrutiny, encouraging and inducing the DOJ to pursue, indict, scapegoat, and prosecute Connolly

who: (a) had not been employed by Deutsche Bank since 2008, eight years before his indictment;

(b) was much lower in the organizational structure; (c) had virtually nothing to do with LIBOR

submissions; and (d) was not a member of the privileged club of Deutsche Bank executives worthy

of protection.

       8.        The investigation, indictment, and ensuing prosecution followed a well-trod and

corrupt path. The government begins an investigation of a large institution, here Deutsche Bank,

for alleged wrongdoing. The conduct at issue was known to, and approved and authorized by,

senior management (who also directed the conduct here). The institution and its senior

management hire a prominent law firm, here Paul, Weiss, Rifkind, Wharton & Garrison LLP, and

pay the firm millions (here, tens of millions) of dollars to conduct an “independent” investigation.

The government tacitly or openly approves of this (or even requests it), effectively outsourcing its

investigation to the law firm, which becomes a quasi-deputized arm of the government (knowing

that employers can secure the cooperation from current and former employees in ways the

government cannot, for example by threatening to clawback previously paid compensation and

because employees may not exercise Fifth Amendment rights in a private investigation). In short,

the institution knowingly does the government’s bidding, the government relies on the information




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the employer obtains, and the quid pro quo is that the government gives the institution credit for

cooperating by reducing the penalties imposed on the institution.

       9.      However, the results of that investigation are preordained. The law firm, doing its

job to protect the institution and its senior management, glosses over, obscures, and erases from

the record senior management’s conduct and instead targets a low-level scapegoat, here Connolly.

       10.     Connolly, who was barely involved with LIBOR and who did not gain personally

from any rate submission, despite, on information and belief, Deutsche Bank falsely leading DOJ

to believe that he did, is handed to the government as a sacrifice. In exchange, the government

fines the institution at a discount and the charade concludes.

       11.     Although this story may be routine and may be well known to many in the legal

community, it does not make it any less shameful. Deutsche Bank’s conduct concerning its LIBOR

submissions was known to, and approved, authorized, and directed by, the most senior Deutsche

Bank officers. Connolly relied on that direction trusting it to be appropriate and legal. However,

instead of senior management owning their conduct and knowledge, and instead of Paul Weiss

doing a truly independent investigation and drawing unbiased, honest and clear conclusions about

senior management’s role, Deutsche Bank and Paul Weiss blamed Connolly and a few others for

the conduct the government had questioned. Conduct that was not a crime. Conduct Deutsche

Bank had designed and directed with the assistance of its extensive legal and compliance systems.

       12.     What makes this case standout is that Deutsche Bank took the further step of

sending a bank employee to testify at Connolly’s trial, and this bank employee knowingly perjured

himself in front of the District Court at Deutsche Bank’s instruction.

       13.     Deutsche Bank’s efforts were successful. Not a single person from its senior

management was charged with any crime. Because of Deutsche Bank’s cooperation with the




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government (which included handing over Connolly as a scapegoat), the government gave

Deutsche Bank a $750 million credit on an ultimate fine of $2.5 billion, a large amount without

question but one that was very manageable for an institution like Deutsche Bank and which was

paid by innocent shareholders, not senior management.

       14.     Connolly had his life ruined. In 2016, eight years after leaving Deutsche Bank, he

was indicted in the Southern District of New York based on information provided and information

concealed by Deutsche Bank and Paul Weiss. He fought through a trial where he was convicted

of wire fraud and conspiracy to commit wire and bank fraud. He fought through an appeal and

was ultimately exonerated in 2022, when the Second Circuit overturned his conviction, finding

that the way banks reported LIBOR rates, the alleged misconduct, was not illegal. He was

ultimately adjudged not “not guilty” but innocent.

       15.     Even if the DOJ’s investigation made Deutsche Bank uncertain if its LIBOR

submission policies and procedures were proper, Deutsche Bank knew all along that Connolly had

no part in developing those policies. Connolly trusted the direction of those at the bank who did

and was in no way a “rogue trader” as Deutsche Bank portrayed him to be.

       16.     Connolly has been unable to work in his profession since 2016. He has endured a

criminal trial, the loss of free movement, the surrender of his passport, and the destruction of his

personal and professional reputation. It has affected his health, his children, and his wife.

       17.     Deutsche Bank’s decision to scapegoat Connolly to shield its senior management

was shameful, wrong, and morally unconscionable. The law provides a remedy.

       18.     Connolly seeks redress for Deutsche Bank’s actions. He seeks a sum large enough,

in excess of $150 million, to compensate him for his economic losses and the torment he and his




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family have suffered, including damage to his reputation and to deter and punish Deutsche Bank

for its role in directing the destruction of his life.

                                                 Parties

         19.    Connolly is an individual residing in New Jersey.

         20.    Deutsche Bank is a multinational banking and financial services corporation

organized and existing under the laws of Germany. Deutsche Bank is headquartered in Frankfurt,

Germany and maintains a United States regional head office at 1 Columbus Circle, New York, NY

10019.

                                        Jurisdiction and Venue

         21.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(a)(1) and/or 1332(a)(2) because complete diversity of citizenship exists between the parties

and the matter in controversy exceeds $75,000 exclusive of interest and costs.

         22.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because

a substantial part of the events giving rise to Plaintiff’s claim occurred in this district.

                                              Background

Connolly’s Work History at Deutsche Bank

         23.    Mathew Connolly is from New Brunswick, New Jersey. He grew up in a family

with eight brothers and sisters. He met his wife, Beth, while attending college at Moravian

University in Pennsylvania. They were married 32 years ago at a wedding held in a local firehouse

and raised their two children in New Jersey. Connolly started his career on Wall Street in 1987 as

a file clerk at JP Morgan. He moved to Deutsche Bank in 1995 with his former JP Morgan boss

and worked on Deutsche Bank’s Commercial Paper Desk. He eventually became the head of that




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desk and then a trader on the Government Treasury Desk before transferring to the Pool Trading

Desk in 1999. Connolly was promoted to Director shortly thereafter.

       24.     All Deutsche Bank cash assets and liabilities flow through the Pool Trading Desk.

In 2000, Connolly became the head of the Pool Trading Desk in New York. In that position, he

managed the financing of Deutsche Bank’s dollar balance sheet, as well as the flows of money

from London. Connolly’s primary role was to lend Deutsche Bank’s money internally to other

desks that needed financing for their deals or trades; he would then go to the market to finance

those internal loans.

       25.     In 2005, at Deutsche Bank’s request, and after previously turning down the

position, Connolly was assigned a supervisory role with the Money Market Derivatives Desk in

New York (in addition to his other responsibilities). His title remained Director.

       26.     Connolly did not personally trade in any products tied to LIBOR and did not believe

his bonus to be part of the Money Market Derivatives Desk shared pool.

       27.     Connolly left Deutsche Bank in March 2008, before investigations into LIBOR

began. During his approximately thirteen years at Deutsche Bank, Connolly had an unblemished

record with no disciplinary complaints against him. At the time of his departure from the bank,

Connolly had supervisory roles with the Money Market Derivatives Desk, Commercial Paper

Desk, Equity Stock Loan Desk, and the Repurchase Agreement Desk, but his primary day-to-day

responsibility remained as head of Pool Trading Desk as a Director.

LIBOR

       28.     “LIBOR” stands for London Interbank Offered Rate. It is a benchmark interest rate

at which major global banks lend to each other in the international interbank market for short term




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loans.1 LIBOR is based on five currencies: the US dollar, the Euro, the British pound, the Japanese

Yen, and the Swiss franc.

       29.     The British Bankers Association (“BBA”) published LIBOR rates daily for fifteen

different periods (e.g., overnight, one week, one month, and three months).

       30.     To determine LIBOR rates, BBA accepted daily submissions from sixteen “panel

banks” that served the roles of “LIBOR submitters,” pursuant to rules set out in the “BBA LIBOR

Instruction.” Deutsche Bank served as one of the sixteen panel banks and appointed an employee

in London to serve as the LIBOR submitter. The bank was familiar with the BBA LIBOR

Instruction and had policies and procedures to comply with the BBA LIBOR Instruction.

       31.     Each panel bank made an estimate (to at least two decimal places) of what it

believed their bank would have to pay to borrow cash from another bank. The sixteen submissions

were then averaged – with the four highest and four lowest submissions being dropped in a process

known as “trimming” – and published by the BBA daily as the LIBOR rates for the fifteen periods.

The trimming process was designed to prevent outlier submissions from skewing the rate.

Alleged LIBOR Manipulation

       32.     Because banks have billions of dollars of investments, loans, and trading positions

that are impacted by LIBOR, banks could make or lose money depending on how LIBOR moved

(up or down, and by mere hundredths of a percentage point).

       33.     The BBA Instruction governing LIBOR at the time barred interbank

communication prior to submission. It did not bar intrabank communication – meaning it did not

prohibit a bank from communicating internally about or considering its own trading positions as a




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 LIBOR will be phased out of use by June 30, 2023. The discussion here refers to LIBOR as it
existed during the relevant period.

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part of its submission. Deutsche Bank knew this and made it part of its LIBOR submission policies

and practices for traders to communicate the bank’s positions to its LIBOR submitters.

       34.     It was well known in and out of the bank that traders at various banks would

sometimes make requests to the LIBOR submitter at their bank to put in “high” or “low” LIBOR

estimates. If the LIBOR submitter accepted the request, the submitter might adjust the submission

up or down (e.g., by a hundredth of a percentage point), within a permissible range determined by

many other factors (both objective and subjective).

       35.     In the various LIBOR related trials brought by the DOJ since 2015, the government

presented various theories of harm and fraud. In a number of cases, defendants put forth the

defense that there was nothing illegal about submitting a rate that accounted for the bank’s

commercial interest because, consistent with the BBA LIBOR Instruction, the submissions were

within a narrow range of acceptable and accurate rates from which to choose. Many of the trials

ended in acquittals on that basis. See, e.g., https://www.bbc.com/news/business-39225858.

       36.     On review of Connolly’s conviction, the Second Circuit agreed. On January 27,

2022, the Second Circuit reversed the conviction and ordered the District Court to enter a

Judgement of Acquittal. The Second Circuit found that even under the heavy burden of Rule 29,

construing all evidence in the light most favorable to government, no reasonable trier of fact could

convict Connolly because the LIBOR rates submitted were rates at which the bank could have

borrowed and therefore squarely within the BBA’s rules for submissions and, most significantly,

the BBA LIBOR submission rules “said nothing to bar a panel bank’s LIBOR submitters from

receiving or considering input from that bank’s employees who were derivatives traders.” United

States v. Connolly, 24 F.4th 821, 842-43 (2d Cir. 2022).




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Connolly’s Connection to LIBOR and Deutsche Bank’s Instructions and Policy Regarding
LIBOR Submissions

       37.     Connolly did not trade any products tied to LIBOR; his primary responsibilities

were funding Deutsche Bank and running the Pool Trading Desk. On information and belief,

Deutsche Bank told the DOJ that Connolly was motivated financially to manipulate the bank’s

LIBOR submissions, which the DOJ relied upon and repeated to the grand jury. This was false,

as Connolly did not personally profit from trades involving LIBOR rates and had no motive to

engage in the alleged conspiracy.

       38.     At the same time, the Deutsche Bank Money Market Derivatives Desk – over which

Connolly did not yet have any supervisory responsibility – was required to use LIBOR when

customers asked for markets in LIBOR.

       39.     In or around 2004, Connolly’s boss, who was based in London, told him that

Deutsche Bank’s LIBOR risk should be communicated to Deutsche Bank’s LIBOR submitter.

That is, although Connolly did not trade LIBOR and did not manage the Money Market Derivatives

Desk, his London based boss directed him to advise traders on the Money Market Derivatives

Desk to assess Deutsche Bank’s LIBOR position (whether it would be advantageous to Deutsche

Bank’s commercial positions to have the LIBOR rate increase or decrease) and to communicate

that to Deutsche Bank’s LIBOR submitters in London.

       40.     The request was consistent with Deutsche Bank’s established policies and practices

and Connolly believed it to be proper because LIBOR submissions could fall within a range and

he had every reason to trust his employer’s direction, facts left out of the presentation to the grand

jury. On information and belief, Deutsche Bank did not provide this information to the DOJ, and

it was not presented to the grand jury.




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       41.     Connolly was subsequently assigned a supervisory role with the Money Market

Derivatives Desk.

       42.     Deutsche Bank knew that the making and receiving of requests to adjust the LIBOR

submission up or down was permitted by the BBA LIBOR Instruction and was not only acceptable

to – but was specifically directed by – Deutsche Bank senior management.

       43.     The Wall Street Journal published an article on LIBOR in April 2008 that warned

of concerns that LIBOR was “becoming unreliable.” It noted that “bankers and other market

participants have quietly expressed concerns to the British Banking Authority, which oversees

Libor, about whether banks are reporting rates that reflect their true borrowing costs . . . .” Carrick

Mollenkamp, Bankers Cast Doubt On Key Rate Amid Crisis, WALL ST. J., April 16, 2008

https://www.wsj.com/articles/SB120831164167818299.

       44.     Despite the controversy caused by the Wall Street Journal article, in a June 10,

2008 consultative paper – “Understanding the construction and operating of BBA Libor – Strength

for the future” – the BBA decided to leave its LIBOR definition unchanged and requested feedback

from the market on the LIBOR process. In response, the Chicago Mercantile Exchange (“CME”),

one of the largest derivatives exchanges, sent a letter to the BBA addressing “the frequent

accusation that Contributor Panelists habitually submit false or biased responses to the daily Libor

survey,” concluding that “[a] Contributor Panelist who can borrow ‘in reasonable market size’ at

any one of a wide range of offered rates commits no falsehood if she bases her response to the

daily Libor survey upon the lowest of these (or the highest, or any other arbitrary selection from

among them).” That is, in 2008, it was acknowledged that there was a range of LIBOR rates which

a given submitter could reasonably proffer and that panel banks could choose within that range for

any reason.




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The Investigation

       45.     By 2010, the Securities and Exchange Commission (“SEC”), the Commodity

Futures Trading Commission (“CFTC”), and the DOJ were all investigating LIBOR including

Deutsche Bank’s potential role. On April 19, 2010, the CFTC sent Deutsche Bank a letter advising

that the CFTC’s Division of Enforcement was investigating whether LIBOR panel banks’

submissions were false or misleading. The CFTC stated that it expected Deutsche Bank to

cooperate fully with the investigation, including Deutsche Bank’s retention of outside counsel to

conduct an internal investigation:

               [T]he Division requests that Deutsche Bank . . . voluntarily conduct
               by external counsel a full review of Deutsche Bank’s U.S. Dollar
               LIBOR reporting for the relevant time period, and report on an
               ongoing basis the results of that review to the Division, with the
               review to be completed by no later than September 1, 2010.

(Original emphasis.) The initial review period was from 2007 to 2008, but it was subsequently

expanded to include 2005 to 2012.

       46.     Deutsche Bank hired Paul Weiss, in the US, and Slaughter and May, in the UK, to

handle its internal investigation for the DOJ and other agencies.

       47.     In a CFTC letter dated July 14, 2010, the CFTC detailed that it had multiple

telephone conversations with Paul Weiss to coordinate the first stage of the internal investigation,

including Paul Weiss’ agreement to take certain specific investigative actions, and stated the

CFTC’s expectation that Paul Weiss provide weekly updates concerning the progress of the

investigation, including the simultaneous productions of responsive documents and information

uncovered in the internal investigation.

       48.     From 2010 to 2015, Deutsche Bank paid Paul Weiss and Slaughter and May over

$100 million for the LIBOR investigation, which included reviewing 158 million electronic




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documents, listening to 850,00 audio files, conducting nearly 200 interviews of more than fifty

bank employees, and engaging in hundreds of communications with the government. For more

than a year leading up to the conclusion of the investigation, Paul Weiss held weekly calls with

the DOJ, CFTC and FBI.

       49.     As later determined by the Chief Judge of the Southern District of New York,

Colleen McMahon, “[i]t is hard not to conclude that the Government did not conduct a single

interview of its own without first using a road map that Paul Weiss provided—illuminating just

how the Government should ‘investigate’ the case against certain Deutsche Bank employees.”

United States v. Connolly, 16-cr-00370-CM, Dkt. No. 432, at 18-19 (May 2, 2019, SDNY).

Further, Judge McMahon wrote that Paul Weiss “digested the vast information it collected,

highlighted the most important nuggets, and shared a blueprint for what prosecutors should

expect. . . . In other words, Paul Weiss did everything that the Government could, should, and

would have done had the Government been doing its own work.” Id. at 23-24. In sum, “[t]he only

conclusion one can draw . . . is that, rather than conduct its own investigation, the Government

outsourced the important developmental stage of its investigation to Deutsche Bank—the original

target of that investigation—and then built its own ‘investigation’ into specific employees,”

including Connolly, that Deutsche Bank had singled out for prosecution. Id.

       50.     In a January 21, 2015, Paul Weiss document known as the “White Paper,” Paul

Weiss detailed the many ways Deutsche Bank and Paul Weiss assisted the government, including

parsing the enormous amount of information obtained and directing the government to Deutsche

Bank’s preferred targets.

       51.     The White Paper stated that “these volumes of data and documents would be

virtually impossible to navigate without direction,” and thus “the Bank promptly sought to point




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the DOJ to the information it would find most relevant.” Further, “[t]he Bank took extraordinary

efforts to distinguish between information that was merely responsive to the DOJ’s requests and

information that was ‘notable,’ in that it contained evidence or information that the Bank believed

would be of particular interest.”

       52.     The White Paper concluded that Deutsche Bank and Paul Weiss expected the

government to decide who to charge and prosecute based on the documents Deutsche Bank

highlighted for the government:

               We believe that these efforts . . . have provided the DOJ with a full
               and complete picture of the facts. Indeed, we expect that much (if
               not most) of the information that will ultimately be used in
               making charging decisions . . . will have come from the Bank’s
               identification of notable communications and its having brought
               those communications to the DOJ’s attention. [Emphasis added.]

Deutsche Bank’s Settlement with the Government

       53.     The enormous effort and expense of the investigation, and the serving up of specific

employees such as Connolly for prosecution, benefitted Deutsche Bank many times over when it

settled with the government. As detailed in Deutsche Bank’s April 23, 2015, Deferred Prosecution

Agreement (available at https://www.justice.gov/criminal-vns/united-states-v-db-group-services-

uk-limited-and-deutsche-bank-ag):

               [U]pon being alerted to an investigation by the Department [of
               Justice] and other regulatory authorities, Deutsche Bank
               commenced an internal investigation and cooperated with
               authorities, including disclosing much of the misconduct described
               in the Information and Statement of Facts. Deutsche Bank collected,
               analyzed, and organized voluminous evidence, data, and
               information, and did so in a way that saved the Department
               significant resources by identifying certain documents and segments
               of audio files and providing translations for certain documents
               where applicable. Deutsche Bank also assisted and facilitated the
               Department’s interviews of current and former employees,
               including foreign employees and Deutsche Bank communicated




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               with and updated the Department with increasing frequency as the
               investigation progressed.

       54.     In exchange for Deutsche Bank’s comprehensive cooperation, the government

granted Deutsche Bank a significant discount on the combined $2.5 billion in fines Deutsche Bank

agreed to pay as part of settlements entered in April 2015 (which would have been $3.25 billion

without the cooperation discount). In other words, Deutsche Bank’s cooperation was worth $750

million.

       55.     As part of the settlement, no member of Deutsche Bank’s protected class of senior

management was fined, prosecuted, or deregistered. Although senior management’s role in the

alleged LIBOR manipulation scheme was well known to the government, Deutsche Bank also

successfully negotiated as part of the Deferred Prosecution Agreement that there would be no

admission of wrongdoing by senior management.

       56.     Actual evidence of this type of trade – where senior management is protected from

government prosecution in return for a scapegoat plus a large fine paid by the company (i.e., by

innocent shareholders) – is rarely obtained. Here, we know what happened.

       57.     The DOJ originally prepared a draft “Statement of Facts” that was to be

incorporated into the Deferred Prosecution Agreement. The DOJ’s draft Statement of Facts

included a section titled, “DB Management Awareness of the Conduct, Tolerance of the Conflicts

of Interest and Promotion of Culpable Individuals,” which stated that “[c]ertain DB managers and

senior managers were aware of requests by DB derivatives traders to submit LIBOR and

EURIBOR rates that benefitted trading positions” and that “a senior manager and the head of

GFFX in London, knew that traders and submitters coordinated LIBOR submissions and

encouraged the coordination.” The draft further stated that “DB senior managers and

managers . . . recklessly disregarded significant conflicts of interests [including] encouraging open



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communications between traders and submitters and seating many of them together” and that “[a]t

least part of the motivation for this sharing of information was to ensure that the bank coordinated

conduct among traders and the submitters to benefit the bank as a whole.” United States v.

Connolly, 16-cr-00370-CM, Dkt. No. 399-12 (December 10, 2018, SDNY).

       58.     The final Statement of Facts – issued after the DOJ cut its final deal with Deutsche

Bank – dramatically downplayed these allegations. The section title was drastically toned down

to “DB Management” with no mention of their awareness or encouragement of the conduct. And

only a single senior manager – not multiple – was identified as having overseen the LIBOR

submissions, while references to desk level managers (including Connolly) and a mid-level

manager were retained. The phrase “recklessly disregarded” was also removed.

       59.     After successfully bargaining away any acknowledgement of culpability by its most

senior leaders, Deutsche Bank agreed in the final Statement of Facts that its LIBOR “rate

submissions were false and misleading” and that “in making and in accommodating these requests,

the derivatives traders and submitters were engaged in a deceptive course of conduct.” Deutsche

Bank further “acknowledge[d] that the wrongful acts taken by the participating employees in

furtherance of the misconduct . . . were within the scope of their employment at [Deutsche Bank].”

Deutsche Bank knew these statements were false and omitted important facts, but nonetheless

accepted the government’s theory in a self-serving and successful bid to avoid prosecution,

insulate senior executives and reduce its settlement payment.

       60.     Deutsche Bank agreed in the Deferred Prosecution Agreement, and affirmed to be

“true and accurate,” that Connolly was one of the employees who engaged in this supposed

misconduct. Deutsche Bank knew that this was false, and that it was not misconduct at all.




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Deutsche Bank Scapegoats Connolly

       61.     The DOJ expected that Deutsche Bank would identify individual employees.

Accordingly, Deutsche Bank could, and did, identify Connolly for prosecution, even though the

evidence in Deutsche Bank’s possession demonstrated that executives far senior to Connolly and

reaching up into the C-Suite, including Deutsche Bank’s Global Chief Executive and Co-Chairman

Anshu Jain, its Global Head of Rates Alan Clote, and its Global Head of Finance David Nicholls,

actually approved and directed derivatives traders and LIBOR submitters to share information

about trading positions. Such senior managers were even responsible for the physical restructuring

of the bank’s floor plan so that the Money Market Derivative Desk and the Pool Trading Desk

were closer to each other so they could more easily share their risk positions, including on LIBOR.

       62.     But as Connolly would learn, an intentional decision was made by Deutsche Bank

to insulate senior persons, executives, decisions makers, and legal and compliance from scrutiny.

Rather than direct the DOJ to information regarding the decision makers, or defend its policies and

practices, Deutsche Bank steered attention to lower-level traders and desk managers, including

Connolly, who were following the policies and practices that had been dictated by those senior

executives and that the BBA had approved.

       63.     Fewer than 5 of the approximately 100 people trading LIBOR-based derivatives

worldwide for Deutsche Bank were based in New York. The two scrutinized were the lowest-level

people in New York who had any involvement with LIBOR: Tim Parietti, Deutsche Bank’s

LIBOR trader for the New York office, and Connolly, who had supervisory responsibilities over

Parietti’s desk but did not himself trade LIBOR-based derivatives.

       64.     On information and belief, at some point during the investigation, the bank focused

the DOJ’s attention on four emails sent or received by Connolly that were later the subject of




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testimony at the grand jury and at trial. FBI Special Agent (“SA”) Jeffrey Weeks testified to the

grand jury that he relied on explanations and interpretations given to him by Deutsche Bank to

understand the emails. United States v. Connolly, Grand Jury, Weeks Tr. 50:11-51:18, May 31,

2016. The four emails sent or received by Connolly could not have on their own given rise to

probable cause in light of the BBA LIBOR Instruction and Deutsche Bank’s policy and practices;

rather some additional “interpretation” from the bank was necessary.

       65.     The first email, dated November 23, 2005, was sent from Connolly to Deutsche

Bank’s two LIBOR submitters, Mike Curtler and James King in London. It stated “OTC request

3-month LIBOR as high as possible Thursday and Friday if you see the market higher. Thanks.”

(Emphasis added.) The response from King indicated that the submitters would not accept the

request: “Matt, we’ve gone in relatively neutral as a high 3s doesn’t suit London at the moment.

Hope that’s ok. James.”      Connolly responded, “Doesn’t matter to me . . . May matter to

OTC/rates NY . . . we will all find out I guess.” (Emphasis added.)

       66.     “OTC” stands for “over the counter.” Because there is no regulated exchange for

derivative trades, those transactions, which are direct between banks, are known as “OTC trades.”

Connolly did not supervise the OTC desk, so even if money had been made by the OTC desk based

on the email, neither Connolly nor his desk would have profited from it.

       67.     The second email, dated November 28, 2005, was from Connolly in response to a

question from one of the submitters. Curtler advised, “1 mth over the turn is looking like 26-32

hahaha – anything either way from you guys? We are still short.” Connolly responded, “Hahahah

never fails. We would prefer it higher. We have about 15 BB 1 mo receives. Thanks. Just asking

is very much appreciated . . . .” (Emphasis added.) Curtler responded, “will do like James then –

ask, and do the opposite…let us know the days you rec, first fix tom will set the tone.”




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       68.     The third email, dated August 12, 2007, from Connolly to Curtler and King stated,

“If possible, we need in NY 1 mo libor as low as possible next few days...tons of pays coming up

overall...thanks!” (Emphasis added.)

       69.     The fourth email from March 2006 (on which Connolly was merely copied) was

from Parietti to King in which Parietti wrote “[r]egarding Mondays 3mLibor, MMD NY is

receiving 3mL on USD 6.5 Bn so hoping for higher 3mL.” (Emphasis added.)

       70.     Connolly understood at the time that each of these four email exchanges complied

with bank policies and the specific direction he had received in 2004 from his boss. The emails,

if read plainly, show that Connolly did not direct Deutsche Bank’s LIBOR submitters to do

anything. Instead, the emails reflect communication of preferences and positions, not directives,

that the submitters could either consider or ignore. All were conditioned, making general,

directional requests (high or low) without requesting a specific rate-submission, and reflect that

Connolly had no authority over Deutsche Bank’s LIBOR submitters. None of the email exchanges

show an intent to tender a false LIBOR submission that deviated from the BBA’s LIBOR

Instruction. But, based on Deutsche Bank’s “explanations,” SA Weeks interpreted them for the

grand jury as LIBOR manipulation.

       71.     When Deutsche Bank first approached Connolly regarding LIBOR issues in

February 2013 – five years after he had left Deutsche Bank – it was to inform him that Deutsche

Bank had given his emails to the FBI, which was among the government agencies looking into the

matter. Connolly was not concerned; he knew that he taken little action regarding LIBOR, and

that any action he had taken was consistent with Deutsche Bank policies and instructions.

       72.     The FBI subsequently sought to interview Connolly. Deutsche Bank offered to pay

Connolly’s legal fees. Connolly willingly participated in a seven plus hour interview with more




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than twenty people present from various government agencies, including the FBI, DOJ, SEC,

CFTC, and others.

       73.     During his interview, Connolly repeated the truth: that Deutsche Bank’s senior

management had directed both Connolly and Parietti to communicate the bank’s positions to

Deutsche Bank’s LIBOR submitters.

       74.     Connolly left the interview unconcerned since: (a) his LIBOR involvement was

extremely limited; and (b) any involvement he had and action he took in connection with LIBOR

had been directed by Deutsche Bank.

       75.     In late April 2016 – eight years after Connolly had left Deutsche Bank – the DOJ

advised Connolly’s lawyer that Connolly was a target of its investigation of individuals from

Deutsche Bank connected to alleged LIBOR manipulation. Both Connolly and his attorney were

stunned.

       76.     The DOJ’s investigation and its understanding of the events was tainted, indeed

manipulated, by Deutsche Bank’s efforts to draw scrutiny away from its senior executive decision

makers and towards Connolly and other mid-level traders, desk managers, and employees. That

taint and manipulation started with the investigation, impacted the grand jury proceeding, and

persisted through trial.

The Indictment

       77.     On May 31, 2016, the DOJ indicted Connolly in the Southern District of New York.

The indictment was based on Deutsche Bank’s intentionally skewed investigation and knowingly

false presentation and omission of information to the government.

       78.     Gavin Black, a Deutsche Bank employee in London, was indicted along with

Connolly. Black, like Connolly, was far from being a senior executive at Deutsche Bank.




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       79.     To procure the indictment, the government repeated Deutsche Bank’s false

presentation to the grand jury, including material omissions, through its lone grand jury witness

SA Weeks, and 38 exhibits.

       80.     For example, SA Weeks provided factually inaccurate testimony stating that

Deutsche Bank’s trade data, which Deutsche Bank had provided and parsed for the government,

established that Connolly made requests to the bank’s LIBOR submitters to benefit the bank’s

trading positions. (Weeks Tr. 36:8-37:19.) SA Weeks had no basis for this testimony other than

what Deutsche Bank told him.

       81.     SA Weeks testified that LIBOR panel bank submitters would consider certain

factors in calculating LIBOR submissions, including “borrowing transactions” and “other sources

of market information” such as the direction debt markets were moving and newsworthy events.

(Weeks Tr. 8:2-23.) The grand jury was also shown as Exhibit 37 a slide deck summarizing LIBOR

basics that included a slide listing “Common Submission Datapoints” including “Money Market

transactions, if available,” “Cash brokers,” “Financial/political news,” and “Other factors

indicating where they can actually borrow money.” Both SA Weeks and Exhibit 37 omitted that a

panel bank may account for its trading positions in calculating LIBOR submissions consistent with

the BBA LIBOR Instruction (which was not presented to the grand jury either). On information

and belief, this presentation to the grand jury was based on the information Deutsche Bank

provided the government and would have mislead the grand jury into believing that Connolly’s

communications with Deutsche Bank’s LIBOR submitters were attempts to manipulate Deutsche

Bank’s LIBOR submissions, which Deutsche Bank knew was false.

       82.     SA Weeks also testified that he observed, through documents he reviewed with the

bank’s help, LIBOR manipulation at Deutsche Bank by traders with a “profit or loss interest in the




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movement of LIBOR rates” who requested changes to the bank’s LIBOR submissions and that

Connolly, Black, “and their co-conspirators conspired together to make sure it was common

practice for certain traders who were affected by LIBOR to both make requests to the setter who’s

setting LIBOR, and with the understanding that that setter would help them, in any way that he

could, to change his rates to help their trading positions.” (Weeks Tr. 33:17-34:5, 36:16-24.) On

information and belief, Deutsche Bank led the government to believe that Connolly had a “profit

or loss interest in the movement of LIBOR rates,” which was false, and the government – relying

on Deutsche Bank – repeated this misinformation to the grand jury.

       83.     Further, SA Weeks testified that Connolly’s “role in the alleged conspiracy and

scheme” was that Connolly “instructed one of his money market derivative traders to submit

requests to the LIBOR setters in London whenever he had significant positions that would benefit

from setting LIBOR in a certain way,” and that Connolly instructed Parietti “to make sure that he

submitted these preferences when he had large exposure.” (Weeks Tr. 44:11-17; 47:17-24.) On

information and belief, Deutsche Bank caused the government to present a misleading account to

the grand jury, including that Connolly’s actions were improper and that he acted independently

for his own benefit, while omitting that Deutsche Bank’s senior management and executives

directed Connolly’s conduct, Connolly believed it to be lawful, and his performance/compensation

did not depend on LIBOR movement.

       84.     Among the things about which SA Weeks did not testify: that Deutsche Bank senior

executives approved, implemented and directed the bank’s policies and practices regarding LIBOR

submissions; that Deutsche Bank had extensive legal and compliance departments that would have

overseen these decisions; that Connolly had no role in determining the policies and practices; and

that Connolly did not trade in or profit from any LIBOR connected products. On information and




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belief, these omissions in SA Week’s testimony and which undermine the grand jury’s ability to

find probable cause and to consider scienter, were based on the misleading picture Deutsche Bank

provided to the DOJ.

       85.     Further, SA Weeks answered several questions about how the orientation of

Deutsche Bank’s trading floors allowed easy communication between traders and LIBOR

submitters, omitting that Deutsche Bank senior executives had arranged the floor plans to facilitate

this communication. (Weeks Tr. 40:14-41:3; 48:15-49:13; 52:2-8; 55:18-23.) On information and

belief, Deutsche Bank caused the government to withhold information about Deutsche Bank senior

managers and executives from the grand jury.

       86.     Connolly was arrested and arraigned on June 1, 2016.

       87.     Connolly was informed that the charges stemmed from the investigation that the

DOJ had conducted.       What Connolly did not understand at the time was that the DOJ’s

investigation was premised almost entirely on information fed to them by Deutsche Bank. In fact,

SA Weeks testified that his testimony was based on documents, communications, and information

obtained from Deutsche Bank, including “data from Deutsche Bank” that purported to show “the

trading positions for different traders on different days,” which SA Weeks called an “important

source of information to our investigation.” (Weeks Tr. 37:11-19.) This demonstrates that the

government could not have targeted Connolly without Deutsche Bank’s direction and Deutsche

Bank’s misleading portrayal to the government of Connolly’s conduct.

Deutsche Bank and DOJ Misconduct at Trial

       88.     On October 18, 2019, Connolly and Black’s trial began with Judge McMahon

presiding.




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       89.     Notwithstanding that they were being charged with conspiracy, Connolly and Black

had never met, spoken or otherwise communicated before the trial.

       90.     The DOJ alleged that Connolly directed his subordinates to submit false LIBOR

rates to advance Deutsche Bank traders’ interests. This was based on the false narrative developed

long before; Deutsche Bank’s LIBOR submitters were not subordinate to Connolly, did not report

to him and he did not give them directives.

       91.     In her opening statement at trial, the prosecutor told the jury that “[i]n [Connolly

and Black’s] quest to make every extra dollar they could . . . they cheated by rigging the LIBOR

interest rate.” This was based on false information from Deutsche Bank that Connolly had a

personal financial interest in attempting to increase bank revenue through LIBOR submission

adjustments, which he did not.

       92.     During the trial, a prosecution witness who worked for Deutsche Bank admitted

that he had committed perjury twice during the trial at the direction of a Deutsche Bank lawyer

and DOJ prosecutor.

       93.     The witness, Guy Weston-Edwards, a Deutsche Bank employee in the IT

department who served as Deutsche Bank’s head of production support for fixed income and

currencies, had sworn under oath in two affidavits that documents which falsely tied Connolly to

portfolios and counterparties that Connolly had no connection to were true and accurate Deutsche

Bank business records.

       94.     Because Deutsche Bank and the government could not tie Connolly to any specific

LIBOR trades, they got creative: they referenced a portfolio of Parietti’s (which did have LIBOR

trades), cut and pasted data from multiple business records into four spreadsheets, and submitted




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those spreadsheets as original Deutsche Bank business records to link Connolly to the trades as

Parietti’s supervisor.

       95.     Weston-Edwards had advised Deutsche Bank, Deutsche Bank’s attorneys, and

attorneys from the DOJ that such documents were not, in fact, original Deutsche Bank business

records, but were created after the fact by an outside research firm. Deutsche Bank and the DOJ

nonetheless instructed him to sign the affidavits attesting to such documents being “original

records or true and accurate copies of records that . . . were kept in the course of a regularly

conducted business activity.”

       96.     In the courtroom, Weston-Edwards physically pointed to one of the attorneys for

the government, Michael Koenig, who had given him the instruction. He also specifically named

Jesse Crew, an in-house attorney for Deutsche Bank, as having directed him to testify that the

spreadsheet was an original business record and to certify its authenticity.

       97.     Judge McMahon was livid, scolding the prosecutors, “[y]ou should be ashamed of

yourselves.” She noted, “I am so upset about this affidavit thing. I find it appalling,” and added

that she was “stupefied by everything that’s happened here.”

       98.     Judge McMahon’s reference to “everything that’s happened here” had to do with

the numerous improper actions the DOJ – squarely through and relying on Deutsche Bank’s

assistance – had taken over the course of the trial.

       99.     She chastised the prosecution, “if I had ten dollars for every time you ever stood up

and said that you misspoke, it’s more times in one case than the collective misspeaking of the

Department of Justice in all of my 20-year criminal docket.” She added, “I have never had a trial

with so many surprises, fiascoes, [and] retractions, it hasn’t happened.”




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       100.    As noted above, most of the information the DOJ had presented against Connolly

had been given to it by Deutsche Bank.

       101.    Judge McMahon found that the DOJ did not conduct any interviews of its own until

the witness had “first passed through the maw of” Paul Weiss. United States v. Connolly, 16-cr-

00370-CM, Dkt. No. 432, at 18 (May 2, 2019, SDNY). Paul Weiss recognized this fact in its

White Paper.

       102.    In addition, Deutsche Bank’s effort to mislead resulted in the government putting

on a false narrative at trial. For example, the government elicited misleading testimony to imply

to the jury that Deutsche Bank senior management and executives had no knowledge or

involvement in the alleged conduct, which was false. Deutsche Bank knew this to be false and it

caused the government to mislead the jury.

       103.    The consequences were clear. As Judge McMahon wrote, “there are profound

implications if the Government, as has been suggested elsewhere, is routinely outsourcing its

investigations into complex financial matters to the targets of those investigations, who are in a

uniquely coercive position vis-à-vis potential targets of criminal activity.” Id. at 2.

       104.    The conclusion is apparent: Deutsche Bank told the DOJ to focus on Connolly as

a target (which led to his indictment), and did so both to draw attention away from the Deutsche

Bank senior executives who – unlike Connolly – had actual responsibility with regard to LIBOR

and to help itself in its settlement negotiations with the government.

       105.    Deutsche Bank’s effort to direct the DOJ toward Connolly and away from high-

level Deutsche Bank executives was a blatant move to distance itself from the LIBOR investigation

and to claim it had not countenanced the actions of “rogue traders.”




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       106.    In short, all Connolly had done was send three emails (and be copied on a fourth),

which he understood to be, and were, fully in line with Deutsche Bank’s policies and his superiors’

specific instructions. Yet, Deutsche Bank chose Connolly to serve as the New York fall-guy.

Connolly’s Conviction and Sentencing

       107.    On October 17, 2019, Connolly was convicted of conspiracy to commit wire and

bank fraud, in connection with the submission of statements that could affect LIBOR.

       108.    The District Court’s belief in the role Deutsche Bank played in the events at issue,

and Connolly’s overall lack of culpability, was on full display at Connolly’s sentencing hearing.

       109.    Judge McMahon stated, “Defendants didn’t put anything over on Deutsche Bank.

What was going on was no secret, and was – from all the evidence I have seen and heard –

encouraged, if not orchestrated, by senior officials at the bank for the benefit of the bank.” United

States v. Connolly, 16-cr-370-CM, Dkt. No. 457 (Oct. 24, 2019, SDNY) (Tr. 38:24-39:2). She

added, “I don’t believe [Parietti] did what he did because Matt Connolly told him to – and neither

did the jury – but I do believe his testimony that senior management at the bank directed this

activity. And Matt Connolly was not part of the senior management at Deutsche Bank.” Id. at

43:24-44:3.

       110.    Judge McMahon continued, “I do think it is fair to say that the government has used

Mr. Connolly and Mr. Black, as well as a few other people – none of whom was at the highest

levels – as proxy wrongdoers, to make them an example for the wrongdoings of those institutions,

Deutsche Bank and Rabobank in this court, and for similar wrongdoing of other unindicted

institutions as well.” Id. at 85:13-19. She explained, “I [ ] cannot make Mr. Connolly and Mr.

Black scapegoats for the sins of the entire industry.” Id. at 86:9-11.




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       111.    When it came time to render the sentences, Judge McMahon stated: “Mr.

Black . . . you were really a bit player in this. Mr. Connolly was barely a player at all. And given

what has happened to everybody else in this case, and what has not happened to a lot of people

who aren’t in this case – and aren’t in other cases – it would be a travesty to sentence Matt Connolly

to a term of incarceration. . . . I can’t mete out a sentence of imprisonment on Mr. Connolly who

truly – I have been through this evidence – is the least culpable person I have heard about. . . . I’m

always uncomfortable when I’m asked in any context . . . to sentence the low man on the totem

pole while the big guy goes free.” Id. at 92:17-93:22.

       112.    The Court sentenced Connolly to time served and supervised released which

included six months of home confinement. He was also ordered to pay a $100,000 fine.

Appeal and Acquittal

       113.    Connolly and Black appealed.

       114.    In reversing Connolly and Black’s convictions, the Second Circuit held that while

the BBA LIBOR Instruction prohibited collusion between panel banks, it did not have a similar

prohibition against banks making their LIBOR submissions with consideration of the bank’s own

interest-rate-sensitive derivatives; in short, nothing in the BBA’s LIBOR Instruction prevented a

panel bank’s LIBOR submitters from receiving or considering intrabank input, such as the input

provided by Connolly. Simply put, the Second Circuit found Connolly innocent—that his actions

were not unlawful and that he had committed no wrongdoing.

       115.    On January 27, 2022, the Second Circuit overturned Connolly’s conviction and

directed the District Court to enter a judgment of acquittal. United States v. Connolly, 24 F.4th

821 (2d Cir. 2022).




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                                      First Cause of Action
                                     (Malicious Prosecution)

       116.    Connolly repeats and realleges the allegations set forth herein.

       117.    Deutsche Bank initiated and continued a criminal proceeding against Connolly,

including by making materially false representations and omissions to the DOJ.

       118.    Deutsche Bank knew at the time that such representations and omissions were false.

       119.    Deutsche Bank acted with malice by initiating and continuing the proceeding

against Connolly due to the wrong and improper motive of making such false representations and

omissions in an effort to limit its own civil, criminal and regulatory liability, and to protect its

senior management.

       120.    Deutsche Bank had no probable cause to believe that its claims against Connolly

would succeed since it knew that its representations were false. Deutsche Bank was motivated by

an improper and self-serving motive in helping to secure Connolly’s indictment.

       121.    During the trial, Deutsche Bank put forth perjured testimony by a Deutsche Bank

employee in a further effort to obtain favor with the government and to secure a conviction of

Connolly.

       122.    Connolly’s conviction, which was based on Deutsche Bank’s false representations

and omissions, was overturned on appeal, and Connolly was acquitted.

       123.    Connolly has suffered significant damages as a result of Deutsche Bank’s malicious

conduct.




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WHEREFORE, Plaintiff prays that this Court grant:

   (a) an award of damages to Plaintiff in an amount to be determined by the Court of not less

       than $150,000,000;

   (b) exemplary damages to Plaintiff in an amount to be determined by the Court;

   (c) awards of pre- and post- judgment interest in favor of Plaintiff;

   (d) an award of attorneys’ fees and all other applicable costs of this action to Plaintiff;

   (e) punitive damages; and

   (f) such other and further relief as this Court may deem just and proper.

                                          Jury Demand

       Plaintiff hereby demands a trial by jury of all issues so triable pursuant to Rule 38 of the

Federal Rules of Civil Procedure.

Dated: February 6, 2023
       New York, New York
                                                   /s/ David B. Wechsler
                                                  David B. Wechsler, Esq.
                                                  Jonathan Harris, Esq.
                                                  Julie Withers, Esq
                                                  Daniel Grossman, Esq.
                                                  HARRIS ST. LAURENT & WECHSLER LLP
                                                  40 Wall Street, 53rd Floor
                                                  New York, NY 10005
                                                  (212) 397-3370
                                                  jon@hs-law.com
                                                  dwechsler@hs-law.com
                                                  jwithers@hs-law.com
                                                  dgrossman@hs-law.com

                                                  Attorneys for Plaintiff Matthew Connolly




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